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                         EXHIBIT D
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                  CORONAVIRUS RESPONSE AND RELIEF
                SUPPLEMENTAL APPROPRIATIONS ACT, 2021

                       Consolidated Appropriations Act, 2021,
                    Pl 116-260, December 27, 2020, 134 Stat 1182

                                Division M; Title III

                  Centers for Disease Control and Prevention;

                     CDC–Wide Activities and Program Support
                          (including transfer of funds)

For an additional amount for “CDC–Wide Activities and Program Support”,
$8,750,000,000, to remain available until September 30, 2024, to prevent, prepare
for, and respond to coronavirus, domestically or internationally:

Provided, That amounts appropriated under this heading in this Act shall be for ac-
tivities to plan, prepare for, promote, distribute, administer, monitor, and track coro-
navirus vaccines to ensure broad-based distribution, access, and vaccine coverage:

Provided further, That of the amount appropriated under this heading in this Act,
not less than $4,500,000,000 shall be for States, localities, territories, tribes, tribal
organizations, urban Indian health organizations, or health service providers to
tribes:

Provided further, That of the amount in the preceding proviso, $210,000,000, shall be
transferred to the “Department of Health and Human Services—Indian Health Ser-
vice—Indian Health Services” to be allocated at the discretion of the Director of the
Indian Health Service and distributed through Indian Health Service directly oper-
ated programs and to tribes and tribal organizations under the Indian Self-Determi-
nation and Education Assistance Act and through contracts or grants with urban In-
dian organizations under title V of the Indian Health Care Improvement Act:

Provided further, That the amount transferred to tribes and tribal organizations un-
der the Indian Self-Determination and Education Assistance Act in the preceding
proviso shall be transferred on a one-time, non-recurring basis, is not part of the
amount required by 25 U.S.C. 5325, and may only be used for the purposes identified
under this heading in this Act, notwithstanding any other provision of law:

Provided further, That the amounts identified in the second proviso under this head-
ing in this Act, except for the amounts transferred pursuant to the third proviso under
this heading in this Act, shall be allocated to States, localities, and territories
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according to the formula that applied to the Public Health Emergency Preparedness
cooperative agreement in fiscal year 2020:

Provided further, That of the amounts identified in the second proviso under this
heading in this Act, except for the amounts transferred pursuant to the third proviso
under this heading in this Act, not less than $1,000,000,000 shall be made available
within 21 days of the date of enactment of this Act:

Provided further, That of the amounts identified in the second proviso under this
heading in this Act, except for the amounts transferred pursuant to the third proviso
under this heading in this Act, not less than $300,000,000 shall be for high-risk and
underserved populations, including racial and ethnic minority populations and rural
communities:

Provided further, That the Director of the Centers for Disease Control and Prevention
(“CDC”) may satisfy the funding thresholds outlined in the second, fifth, sixth, and
seventh provisos by making awards through other grant or cooperative agreement
mechanisms:

Provided further, That amounts appropriated under this heading in this Act may be
used to restore, either directly or through reimbursement, obligations incurred for
coronavirus vaccine promotion, preparedness, tracking, and distribution prior to the
enactment of this Act:

Provided further, That the Director of the CDC shall provide an updated and compre-
hensive coronavirus vaccine distribution strategy and a spend plan, to include funds
already allocated for distribution, to the Committees on Appropriations of the House
of Representatives and the Senate and the Committee on Energy and Commerce of
the House of Representatives and Committee on Health, Education, Labor, and Pen-
sions of the Senate within 30 days of enactment of this Act:

Provided further, That such strategy and plan shall include how existing infrastruc-
ture will be leveraged, enhancements or new infrastructure that may be built, con-
siderations for moving and storing vaccines, guidance for how States, localities, ter-
ritories, tribes, tribal organizations, urban Indian health organizations, or health ser-
vice providers to tribes, and health care providers should prepare for, store, and ad-
minister vaccines, nationwide vaccination targets, funding that will be distributed to
States, localities, and territories, how an informational campaign to inform both the
public and health care providers will be executed, and how the strategy and plan will
focus efforts on high-risk and underserved populations, including racial and ethnic
minority populations:

Provided further, That such strategy and plan shall be updated and provided to the
Committees on Appropriations of the House of Representatives and the Senate and
the Committee on Energy and Commerce of the House of Representatives and
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Committee on Health, Education, Labor, and Pensions of the Senate every 90 days
through the end of the fiscal year:

Provided further, That amounts appropriated under this heading in this Act may be
used for grants for the construction, alteration, or renovation of non-Federally owned
facilities to improve preparedness and response capability at the State and local level:

Provided further, That such amount is designated by the Congress as being for an
emergency requirement pursuant to section 251(b)(2)(A)(i) of the Balanced Budget
and Emergency Deficit Control Act of 1985.
